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UNITED STATES DISTRICT COURT DENNIS »
EASTERN DISTRICT OF NORTH CAROLINA Us DISTRICT COURT OMe
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Abdul Karim Hassan, Civ. Action #:
Plaintiff,
-v- COMPLAINT FOR
DECLARATORY AND
The State of North Carolina, and INJUNCTIVE RELIEF
North Carolina State Board of Elections,
Defendants.

 

 

 

Plaintiff, Abdul Karim Hassan, pro se, (“Plaintiff or “Hassan”), complaining of Defendants,

respectfully alleges as follows:

1.

NATURE OF THE ACTION
Plaintiff, a naturalized American citizen and a candidate for the Presidency of the United
States seeks a judgment: 1) declaring Defendants’ requirement (Ex. 1) that Plaintiff be a
natural born citizen in order to gain access to the North Carolina Presidential ballot is invalid
under the Equal Protection Clause, the Citizenship Clause and the Privileges and Immunities
Clause of the Fourteenth Amendment of the United States Constitution because of the
“natural born” requirement; 2) declaring that the natural born provision of the U.S.
Constitution is irreconcilable with and has been trumped, abrogated and implicitly repealed
by the equal protection guarantee of the Fifth and Fourteenth Amendments, as well as the
Citizenship Clause and the Privileges and Immunities Clause of the Fourteenth Amendment;
and 3) declaring that the conduct of the North Carolina State Board of Elections in denying
Plaintiff access to the North Carolina Presidential ballot because of his national origin,
violates the Equal Protection Clause, the Citizenship Clause, and the Privileges and
Immunities Clause of the Fourteenth Amendment of the United States Constitution; 4)
enjoining Defendants from discriminating against Plaintiff because of his national origin
and/or status as a naturalized American citizen concerning or relating to access to the
Presidential election ballot in North Carolina; 5) awarding Plaintiff costs and attorney’s fees;
and 6) granting Plaintiff such other, further and different relief as the Court deems just and

proper.

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Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 1 of 9

 
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JURISDICTION AND VENUE
This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because this case

involves questions of federal law.

. Venue is proper in the Eastern District of North Carolina pursuant to 28 U.S.C. § 1391(b).

. This Court is empowered to grant declaratory and injunctive relief pursuant to 28 U.S.C. §§

2201 and 2202.

THE PARTIES

. Plaintiff Abdul Karim Hassan (“Plaintiff’ or “Hassan”) is an adult individual over the age of

eighteen years currently residing in Queens County in the State of New York.

Plaintiff Hassan is a 2012 candidate for the Presidency of the United States.

. Defendant North Carolina State Board of Elections is the arm of the State of North Carolina

which administers North Carolina’s election laws and is responsible for and administers the
process of placing candidates on the presidential ballot in North Carolina and is located at:

506 North Harrington Street, Raleigh, North Carolina 27603.

The State of North Carolina is one of the States that comprise the United States of America.
The State of North Carolina is represented by its Attorney General located at: 114 West
Edenton Street, Raleigh, NC 27603-1712. Tel: 919-716-6400.

STATEMENT OF FACTS
Petitioner Abdul Karim Hassan was born in 1974 in the country of Guyana. See also

http://www. youtube.com/watch?v=7Cd18lsx1ls .

Petitioner’s race is East Indian.

2
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 2 of 9
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Petitioner is a naturalized American citizen who was naturalized within the United States

and took the oath of citizenship at a United States District Court in New York City.

Petitioner satisfies all of the constitutional requirements for holding the Office of
President of the United States except the requirement of natural born status. See U.S.

Constitution, Article II, Section 1, Clause 5 (“Natural Born Clause”).

In March 2008, petitioner announced his candidacy for the Presidency of the United

States through his presidential website at www.abdulhassanforpresident.com.

Petitioner is currently focused on the 2012 presidential elections but if he is not
successful in 2012, petitioner intends to continue his current campaign without

interruption until the next presidential elections in 2016.

Since the announcement of his candidacy in March 2008, petitioner has used and will
continue to use without interruption, his presidential website in much the same way as the
leading presidential candidates — to promote and communicate his candidacy, issue

positions and campaign to voters and the public.

Plaintiff has also been communicating this message to the American public through

Youtube.com.

3
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 3 of 9
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In order to compliment and improve the use of the website, petitioner has purchased and
paid for a national presidential advertising campaign through Google. This advertisement

has been running and will continue to run and it links to petitioner’s presidential website.

In addition, petitioner has done interviews with and has been covered by both print and

broadcast media.

Petitioner’s presidential candidacy and campaign have also been covered widely on the

internet as a quick online search will reveal.

This growth in petitioner’s presidential campaign and candidacy has resulted in
thousands of hits each month to petitioner’s presidential website from all across the

country and the growth continues.

Petitioner will continue to build on this initial success and continue to promote his

candidacy and ideas to more and more voters in North Carolina and across the country.

Since announcing his presidential candidacy in March 2008, petitioner has paid annual
registration fees for his presidential website domain names, and in addition, petitioner has
paid monthly fees to host and operate his presidential website. Petition has also been
paying monthly fees for a nationwide advertising campaign that links to petitioner’s
presidential website. Petitioner has also expended time and effort in developing the site’s

infrastructure and content.

4
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 4 of 9
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On September 2, 2011, the Federal Election Commission ruled that plaintiff as a
naturalized American citizen running for President of the United States is covered by the
Federal Election Campaign Act (“FECA”) and related laws and that plaintiff is required
to comply with the record-keeping, expenditure and other requirements of the federal
election laws and plaintiff has been and will continue to spend money, time and effort to
comply with these requirements. (See FEC ruling at

http://www.abdulhassanforpresident.com/fec)

In July 2011, Plaintiff asked Defendants whether his status as a naturalized American

citizen will prevent him from being placed on the North Carolina presidential ballot.

By letter dated July 22, 2011, Defendants responded to Plaintiffs and stated that (See

Exhibit 1):

Dear Mr. Hassan,

Until Article II, Section 5 ofthe United States Constitution is repealed or held
otherwise ineffective by the Supreme Court of the United States; you wi" not

qualify as a Presidential Candidate in the State of North Carolina because you
are not a natural born citizen.

Also please be informed that elections in North Carolina are under the jurisdiction
of the N.C. State Board of Elections and not the Secretary of State. Secretary of
State Marshall was kind enough to forward your letter to our agency.
Because of Defendants’ use of the natural born requirement and their refusal to place
Plaintiff on the North Carolina Presidential ballot because he is a naturalized citizen,

Plaintiff has been denied any chance of getting on the presidential ballot in the State of

North Carolina unless Plaintiff prevails in this lawsuit.

5
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 5of9
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If he wins this case, Plaintiff will immediately pursue access to the North Carolina

Presidential ballot.

AS AND FOR A FIRST CAUSE OF ACTION
U.S. Constitution, 14" and 5" Amendments & Article II, Section 1, Clause 5

Plaintiff incorporates the allegations in paragraphs | through 27 above as if set forth fully

and at length herein.

The Citizenship Clause of the Fourteenth Amendment, Section 1, states in relevant part
that :
All persons born or naturalized in the United States, and subject to the
jurisdiction thereof, are citizens of the United States and of the state
wherein they reside.
The Privileges and Immunities Clause of the Fourteenth Amendment, Section 1, states in
relevant part that :
No state shall make or enforce any law which shall abridge the privileges
or immunities of citizens of the United States
The Equal Protection Clause of the Fourteenth Amendment, Section 1, states in relevant
part that :
No state shall ... deny to any person within its jurisdiction the equal
protection of the laws.
Given that the Defendant’s natural born requirement (See Ex. 1) discriminate against

Plaintiff because of his status as a naturalized citizen — his national origin, they violate

Plaintiff's rights under the Equal Protection Clause, the Citizenship Clause and the

6
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 6 of 9
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Privileges and Immunities Clause of the Fourteenth Amendment. See United States v.
Virginia, 518 U.S. 515, 532 n. 6 (1996) (noting that “[t]he Court has thus far reserved
most stringent judicial scrutiny for classifications based on race or national origin”). See
also Afroyim v. Rusk, 387 U.S. 253, 262 (1967) (stating without exception as to
presidential eligibility that, “(The naturalized citizen) becomes a member of the society,
possessing all the rights of a native citizen, and standing, in view of the constitution, on

the footing of a native.”

Defendants, in refusing to provide Plaintiff with access to the North Carolina Presidential
ballot because of his national origin and status as a naturalized American citizen (See
Exhibit 1), violated and are violating Plaintiffs rights under the Equal Protection Clause,
the Citizenship Clause and the Privileges and Immunities Clause of the Fourteenth

Amendment. See Afroyim v. Rusk, 387 U.S. 253, 262 (1967).

The natural born clause of the U.S. Constitution, including the invidious national origin
discrimination contained therein, is irreconcilable with and is trumped, abrogated and
implicitly repealed by the Equal Protection Clause, the Citizenship Clause and the
Privileges and Immunities Clause of the Fourteenth Amendment as well as the Equal
Protection guarantee of the Fifth Amendment — all of which prohibit such national origin
discrimination. See McDonald v. City of Chicago, Ill. 130 S.Ct. 3020, 3060 (2010),
(“[invidious discrimination is] irreconcilable with the principles of equality, government
by consent, and inalienable rights proclaimed by the Declaration of Independence and
embedded in our constitutional structure.”). See also Adarand v. Pena, 515 U.S. 200, 213

(1995), reiterating that, "[d]istinctions between citizens solely because of their ancestry
7
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 7 of 9
are by their very nature odious to a free people whose institutions are founded upon the

doctrine of equality."

35. The U.S. Supreme Court has also described its decision in Dred Scott v. Sandford, 60
U.S. 393 (1857), to choose constitutional discrimination over constitutional equality as a

great “self-inflicted wound’.” South Carolina v. Regan, 465 U.S. 367, 412 (1984).

36. Upholding the invidious discrimination in the Natural Born Clause in light of the equal
protection guarantees of the Fourteenth and Fifth Amendments, will be another great
“self-inflicted wound.” Plaintiff is therefore entitled to the declaratory and injunctive

relief requested herein.

37, See also http://www. youtube.com/watch?v=pXiTsYGWZ/M .

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
38. Declare that Defendants’ requirement (Ex. 1) that Plaintiff be a natural born citizen in order
to gain access to the North Carolina Presidential ballot is invalid under the Equal Protection
Clause, the Citizenship Clause and the Privileges and Immunities Clause of the Fourteenth

Amendment of the United States Constitution because of the “natural born” requirement;

39. Declare that the natural born provision of the U.S. Constitution is irreconcilable with and has
been trumped, abrogated and implicitly repealed by the equal protection guarantee of the
Fifth and Fourteenth Amendments, as well as the Citizenship Clause and the Privileges and

Immunities Clause of the Fourteenth Amendment;

 

"See http://www.supremecourt.gov/publicinfo/speeches/sp_03-21-03.html - In reference to the Dredd Scott
decision, then Chief Justice Rehnquist said in a 2003 speech that 'It was rightly referred to by a later Chief Justice as
a "self-inflicted wound" from which it took the Court at least a generation to recover.

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Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 8 of 9
40. Declare that the conduct of the North Carolina State Board of Elections in denying Plaintiff
access to the North Carolina Presidential ballot because of his national origin, violates the
Equal Protection Clause, the Citizenship Clause, and the Privileges and Immunities Clause of

the Fourteenth Amendment of the United States Constitution;

41. Enjoin Defendants from discriminating against Plaintiff because of his national origin and/or
status as a naturalized American citizen concerning or relating to access to the Presidential

election ballot in North Carolina;
42. Award Plaintiff costs and attorney’s fees; and
43. Grant Piaintiff such other, further and different relief as the Court deems just and proper.

Dated: Queens Village, New York
December 8, 2011

Respectfully submitted,

Adil VE,

Abdul K. Hassan, Esq.
Plaintiff, Pro Se

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9 9
Case 5:11-cv-00720-FL Document1 Filed 12/09/11 Page 9 of 9
